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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       April 11, 2024

By CM/ECF
Hon. Arun Subramanian
United States District Court
500 Pearl Street
New York, NY 10007

       Re:     United States v. Avraham Eisenberg, 23 Cr. 10 (AS)

Dear Judge Subramanian:

        The Government respectfully opposes the defendant's proposed jury instruction regarding
terms of service. See ECF No. 143. While the Government does not object to the Court providing
a terms of service instruction, it does not believe that the terms of service instruction should solely
be focused on the terms of service for AscendEx, FTX, and Switchboard, given that the defense
has also arguments regarding the lack of terms of service on Mango Markets.

        To provide a more evenhanded instruction, the Government respectfully requests that the
Court give the instruction that the Government proposed in its initial requests to charge, which
reads as follows:

       You have heard evidence in this case that, at the time of the events at issue, Mango
       Markets did not have terms of service. You have also heard evidence that various
       platforms the defendant allegedly used, including FTX, AscendEx, and
       Switchboard, did have terms of service. Terms of service are civil contracts. This,
       of course, is a criminal case. It is not a civil case for breach of contract. In
       considering whether the defendant’s conduct was manipulative, fraudulent, or
       deceptive in violation of the criminal laws at issue in this case, let me caution you
       that the lack of terms of service cannot render any fraudulent or manipulative
       conduct legal or immaterial as a matter of law. Similarly, if you find that the
       defendant violated terms of service on certain platforms, that does not, by itself,
       mean that the defendant has committed a crime. In determining whether the
       defendant has committed any of the charged offenses, you are to apply the
       instructions I have given you today. Terms of service, or lack thereof, are simply
       evidence that you may give as much, or as little weight, as you see appropriate.
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                           Respectfully submitted,

                           DAMIAN WILLIAMS
                           United States Attorney



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